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                 IN THE UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF COLUMBIA

NATIONAL TREASURY EMPLOYEES UNION )
800 K Street, N.W., Suite 1000                )
Washington, D.C. 20001                        )
                                              )
                          Plaintiff,          )
                                              )
              v.                              )     Case No. 1:25-cv-00170
                                              )
DONALD J. TRUMP,                              )      COMPLAINT FOR
President of the United States,               )      DECLARATORY AND
The White House                               )      INJUNCTIVE RELIEF
1600 Pennsylvania Avenue, N.W.                )
Washington, D.C. 20500,                       )
                                              )
CHARLES EZELL,                                )
Acting Director,                              )
Office of Personnel Management                )
1900 E Street, N.W.                           )
Washington, D.C. 20415,                       )
                                              )
PETE R. FLORES,                               )
Senior Official Performing the Duties of      )
Commissioner,                                 )
U.S. Customs and Border Protection            )
U.S. Department of Homeland Security          )
1300 Pennsylvania Avenue,                     )
Washington, D.C. 20004,                       )
                                              )
DOUGLAS ODONNELL,                            )
Acting Commissioner, Internal Revenue Service )
U.S. Department of Treasury                   )
1500 Pennsylvania Avenue, N.W.                )
Washington, D.C. 20220,                       )
                                              )
DOROTHY FINK, Acting Secretary                )
U.S. Department of Health and                 )
Human Services                                )
200 Independence Avenue, S.W.                 )
Washington, D.C. 20201, and                   )
                                              )
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MARK T. UYEDA,                                 )
Acting Chair,                                  )
Securities and Exchange Commission             )
100 F Street, N.E.                             )
Washington, D.C. 20549,                        )
                                               )
                        Defendants.            )
______________________________________________ )


           COMPLAINT FOR DECLARATORY AND INJUNCTIVE RELIEF

                                 INTRODUCTION

      Plaintiff National Treasury Employees Union (NTEU) is a labor union that

represents federal government employees in 37 agencies and departments in

grievances and litigation. NTEU also negotiates collective bargaining agreements

with agency employers, pushes for legislation that improves the working lives of

federal employees, and engages in general advocacy for federal employees rights.

NTEUs mission is to ensure that federal employees are treated with dignity and

respect.

      On January 20, 2025, Defendant Donald J. Trump issued an executive order

that attempts to strip civil service and due process protections from a large swath of

federal employees, including many that NTEU represents. Executive Order,



            (Jan. 20, 2025). The Policy/Career Executive Order reinstates Executive

Order No. 13957 (October 21, 2020, which created a new excepted service Schedule

F. The Policy/Career Executive Order directs agencies to move numerous employees

into a new excepted service category with the goal that many would then be fired.



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      Congress has enacted comprehensive legislation governing the hiring and

employment of federal employees. When establishing hiring principles, Congress

determined that most federal government jobs be in the merit-based, competitive

service. And it established that most federal employees have due process rights if

their agency employer wants to remove them from employment. Because the

Policy/Career Executive Order attempts to divest federal employees of these due

process rights, it is contrary to congressional intent. It is also directly contrary to

Office of Personnel Management (OPM) regulations. The Career/Policy Executive

Order is thus             and must be enjoined.

                                    JURISDICTION

      1.     This Court has jurisdiction pursuant to 28 U.S.C. § 1331.

                                        VENUE

      2.     Venue is proper in the District Court for the District of Columbia

pursuant to 28 U.S.C. § 1391(e). NTEU is located in Washington, D.C. Defendants

also reside here, and a substantial part of the events or omissions giving rise to the

claim occurred in Washington, D.C. because the Executive Order was issued here.

                                        PARTIES

      3.     Plaintiff NTEU is an unincorporated association with its principal

place of business at 800 K Street, N.W., Suite 1000, Washington, D.C. 20001. NTEU

is, pursuant to Title VII of the Civil Service Reform Act, Public Law No. 95-454, 92

Stat. 1111, the exclusive bargaining representative of tens of thousands of federal

employees in 37 departments and agencies. NTEU represents the interests of these



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employees by enforcing employees collective and individual rights through

grievances and federal court litigation; negotiating collective bargaining

agreements; filing unfair labor practice charges; and advocating in Congress for

favorable working conditions, pay, and benefits.

      4.     NTEU brings this action on behalf of itself because it has been directly

harmed by the Executive Order.

      5.     Defendant Donald J. Trump, in his official capacity as President of the

United States of America, issued the Schedule F Executive Order.

      6.     The Order directs Defendant Charles Ezell, in his official capacity as

Acting Director of the Office of Personnel Management (OPM), to approve or to

revise the lists of positions that agencies designate to be transferred to the new

excepted service schedule. Defendant Ezell is also directed to promptly rescind

certain existing OPM regulations entitled Upholding Civil Service Protections and

Merit System Principles which were proposed on April 9, 2024, and published at

89 Fed. Reg. 24982.

      7.     The Order directs Defendant Pete R. Flores, in his official capacity as

Senior Official Performing the Duties of Commissioner of the U.S. Customs and

Border Protection, to decide which agency positions should be transferred to the

new excepted service schedule and to petition OPM within required time frames to

place these positions within the new excepted service schedule.

      8.     The Order directs Defendant Douglas ODonnell, in his official capacity

as Acting Commissioner of the Internal Revenue Service, to decide which agency



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positions should be transferred to the new excepted service schedule and to petition

OPM within required time frames to place these positions within the new excepted

service schedule.

        9.       The Order directs Defendant Dorothy Fink, in his official capacity as

Acting Secretary for the U.S. Department of Health and Human Services, to decide

which agency positions should be transferred to the new excepted service schedule

and to petition OPM within required time frames to place these positions within the

new excepted service schedule.

        10.      The Order directs Defendant Mark T. Uyeda, in his official capacity as

Acting Chair of the Securities and Exchange Commission, to decide which agency

positions should be transferred to the new excepted service schedule and to petition

OPM within required time frames to place these positions within the new excepted

service schedule.

                                STATEMENT OF CLAIMS

   I.         Congresss Creation of a Broad Competitive Service and a Narrow
              Excepted Service.

        11.      All employees in the executive branch of the federal government are in

the competitive service, the excepted service, or the Senior Executive Service. 5

U.S.C. §§ 2102(a)(1), 2103(a);                                  , 854 F.2d 490, 492

(D.C. Cir. 1988).

        12.      The present-day competitive civil service dates back more than 130

years to the Pendleton Civil Service Reform Act, which eliminated the spoils system

and established a merit-based, competitive system for the appointment of federal


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employees.        89 Fed. Reg. 24982 (Apr. 9, 2024) (summarizing evolution of civil

service reform laws).

      13.       Thus, the competitive service [is] the norm rather than the exception.

                   , 854 F.2d at 492. OPM has explained that most government

employees are in the competitive service.        89 Fed. Reg. 24988 (Apr. 9, 2024).

      14.       Applicants for employment in the competitive service must go through

a competitive hiring process (i.e., competitive examining).       OPM,

       ,

           5 C.F.R. Part 337.

      15.       Applicants for excepted service positions are generally excepted from

competitive service hiring requirements, such as taking a competitive

examination. 5 C.F.R. § 6.1(a).

      16.       There is a subset of excepted service employees whose position has

been determined to be of a confidential, policy-determining, policy-making or policy-

advocating character and whom the President has excepted from the competitive

service. 5 U.S.C. § 7511(b)(2).

      17.       The statutory term confidential, policy-determining, policy-making, or

policy-advocating applies to the narrow category of noncareer, political

appointments that are identified by a close working relationship with the

President, head of an agency, or other key appointed officials who are responsible

for furthering the goals and policies of the President.      5 C.F.R. § 210.102(b)(3),




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(b)(4). Such employees have no expectation of continued employment beyond the

[relevant] presidential administration.        .

         18.      The legislative history of the Civil Service Reform Act (CSRA) confirms

that confidential, policy-determining, policy-making, or policy-advocating

employees means only noncareer, political appointees.            S. Rep. No. 95-969, at

48 (1978), reprinted in 1978 U.S.C.C.A.N. 2723, 2770 (describing confidential, policy

employees as appointments confirmed by the Senate).

         19.      Merit Systems Protection Board precedent and related statutes

reinforce this interpretation.                                                   , 74

M.S.P.R. 192, 206 (1997) (confidential, policy employees is a shorthand way of

describing positions to be filled by political appointees) (citing

                 , 31 M.S.P.R. 225, 231 (1986)); 5 U.S.C. § 9803 (defining political

appointee as including individuals in confidential, policy-determining, policy-

making or policy-advocating positions).

   II.         Congresss Grant of Due Process Protections to Most Federal Employees.

         20.      By law, most non-probationary employees in the competitive and

excepted service have due process rights if an agency takes an adverse action

against them. Congress has defined an adverse action as a removal, suspension

for more than 14 days, a reduction in grade or pay, or a furlough of 30 days or less.

5 U.S.C. § 7512. Employees due process rights include the right to notice of the

proposed action, to respond, and to pursue appeals before the Merit Systems

Protection Board. 5 U.S.C. §§ 7511-13, 7701.



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      21.    Non-probationary public employees have a constitutionally based

property interest in continuing employment and such employment cannot be denied

or stripped away without honoring due process rights, such as notice and an

opportunity to respond.                                                     , 470 U.S.

532, 538 (1985).                          , 179 F.3d 1368, 1374 (Fed. Cir. 1999) (If

the government gives a public employee assurances of continued employment or

conditions dismissal only for specific reasons, the public employee has a property

interest in continued employment.).

      22.    [T]he procedures required by 5 U.S.C. § 7513(b) [of the adverse action

statute] reflect the requirements of constitutional due process.

         , 61 M.S.P.R. 526, 531 (1994).

      23.    Consistent with Congresss statutory scheme and case law, OPM has

explained that most non-probationary employees have a a vested property interest

in . . . continued employment and any new law effecting removals or other adverse

actions must comport with due process. 89 Fed. Reg. 24987 (Apr. 9, 2024).

      24.    Employees carry their due process rights with them if they are

involuntarily moved from the competitive service, or from another excepted service

schedule, into a new schedule. 5 C.F.R. § 752.201(c), (d)(2).       89 Fed. Reg. 24983

(Apr. 9, 2024) (non-probationary employees retain the rights previously accrued

upon an involuntary move from the competitive service to the excepted service, or

from one excepted service schedule to another. . .).




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          25.      The adverse action statute providing due process rights expressly

excludes the subset of excepted service employees whose position has been

determined to be of a confidential, policy-determining, policy-making or policy-

advocating character and whom the President has excepted from the competitive

service. 5 U.S.C. § 7511(b)(2). Because this subset of excepted employees (which, as

explained above, means career, political appointees) has no expectation of continued

employment beyond the relevant presidential administration, they do not have

constitutionally based due process rights.           89 Fed. Reg. 24983 n.7 (Apr. 9, 2024)

(explaining that political appointees have no expectation of accrued rights).

   III.         The Presidents Executive Order.

            A.      By congressional limitation, the President can create only narrowly
                    defined excepted service schedules.

          26.      The President may generally establish rules that govern federal

employees in the competitive service. 5 U.S.C. § 3302.

          27.      But Congress limited the Presidents authority to remove employees or

positions from the competitive service. Congress authorized the President to make

necessary exceptions of positions from the competitive service only when

warranted by conditions of good administration. 5 U.S.C. § 3302.

          28.      Presidents have previously issued Executive Orders creating Schedules

A, B, C, D and E, as necessary exceptions to the competitive service. 5 C.F.R. § 6.2.

          29.      Schedules A, B, C, D, and E were designed to address unique hiring

needs upon a determination that appointments through the competitive service was

not practicable. 89 Fed. Reg. 24990 (Apr. 9, 2024).


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       30.     In contrast, OPM concluded that a Schedule F Executive Order issued

in 2020 (Exec. Order No. 13957, 85 Fed. Reg. 67631 [Oct. 26, 2020]), which is

revived through the Order challenged here, was designed to be broad and

numerically unlimited. 89 Fed. Reg. 24990 (Apr. 9, 2024).

         B.     The Executive Order exceeds the lawful definition of confidential
                and policy positions.

       31.     The January 20, 2025 Executive Order creates a new excepted service

schedule that adds to the excepted service [p]ositions of a confidential, policy-

determining, policy-making, or policy-advocating character not normally subject to

change as a result of a Presidential transition. Exec. Order, § 2 (reinstating Exec.

Order 13957).

       32.     The Executive Order explains that, while some federal employees are

expected to resign upon a Presidential transition, the Order covers employees who

are     normally subject to change as a result of a Presidential transition. Exec.

Order, § 2 (reinstating Exec. Order 13957) (emphasis added).

       33.     The Order thus expressly applies to career employees because career

employees do not normally change the status of their employment after a

Presidential transition.

       34.     Yet the longstanding definition of a confidential, policy-determining,

policy-making, or policy-advocating position is one exclusively associated with a

             political appointment. 5 C.F.R. §§ 210.102(b)(3), (b)(4) (emphasis added)

(clarifying the definition           89 Fed. Reg. 24983 (Apr. 9, 2024).




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      35.    To the extent that the Presidents agency heads apply the Executive

Order to include career employees, their actions are contrary to law and regulation.

5 C.F.R. §§ 210.102(b)(3), (b)(4).

      36.    The Executive Order challenged here is worded similar to previously

issued Executive Order 13957 (85 Fed. Reg. 67631 [Oct. 26, 2020]). In response to

the October 2020 Schedule F Executive Order, agencies broadly and unlawfully

interpreted the Order as covering career employees.

      37.    For example, the Office of Management and Budget, in response to

Executive Order 13957, petitioned OPM on November 20, 2020 and on January 5,

2021, to include a majority of its workforce in Schedule F. GAO,



                                            (Sept. 2022)

(https://www.gao.gov/assets/gao-22-105504.pdf).       Erich Wagner,

                                                             , Government Executive,

(https://www.govexec.com/management/2020/11/omb-reportedly-designates-88-its-

employees-schedule-f/170275/) (Nov. 23, 2020).

      38.    The Presidents agency heads, including Defendants Ezell, Flores,

ODonnell, Fink, and Uyeda, will follow the 2025 Executive Orders mandate to

include career employees in the new excepted service schedule.




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         C.    The Executive Order lacks justification for why it is allowable under
               the Statute.

       39.    Presidents can only except employees or positions from the competitive

service if necessary and when warranted by conditions of good administration. 5

U.S.C. § 3302.

       40.    The Executive Order provides no details, data, or explanation for why

it is necessary.

       41.    The Order similarly fails to provide details, data or explanation why

conditions of good administration warrant changes to hiring or adverse action

procedures. It asserts only unsupported generalities such as [p]rinciples of good

administration . . . necessitate action. Exec. Order § 1.

         D.    Federal agencies are required to expeditiously create lists of positions
               to be moved into a new excepted service schedule to pave the way for
               employees to be terminated without receiving their statutory due
               process rights.

       42.    The Executive Order directs each agency head to conduct, within 90

days of the date of th[e] order, a preliminary review of agency positions . . . and [to]

conduct a complete review of such positions within 210 days . . . to determine which

positions should be transferred to the new excepted service schedule.

       43.    Following this preliminary review, each agency head is required to

recommend that the President move such positions from the competitive service or

from Schedules A, B, or D positions into the new excepted service schedule.




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      44.     The 2020 Order, which the Order reinstates, stated that it shall apply

to currently existing positions and newly created positions [that fall within the

Orders definition of covered employee].

      45.     The Order purports to exempt such positions from the adverse

action procedures set forth in chapter 75 of title 5, United States Code.

      46.     The 2020 Order, which this Order reinstates, repeatedly discussed

agency employers alleged need to make conditions easier to terminate federal

employees. It asserts that employees in positions covered by the Order should be

exempted from adverse action protections because removing poorly performing

employees [can be] difficult.

      47.     The 2020 Order, which this Order reinstates, also stated that agencies

need the flexibility to expeditiously remove poorly performing employees from

these positions without facing extensive delays or litigation.

      48.     It is substantially likely that the Presidents agency heads, including

Defendants Ezell, Flores, ODonnell, Fink, and Uyeda, will expeditiously remove

employees whose positions are shifted to the new excepted service schedule without

providing them with the statutory due process rights that employees have accrued.

To deny shifted employees their accrued due process rights is contrary to law and

regulation. 5 C.F.R. § 752.401.

         E.    The Executive Order is contrary to OPM regulations which impose
               limitations on transferring any positions into a new excepted service
               schedule.




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      49.     OPM regulations require agencies to take certain steps before shifting

any position into a new excepted service schedule. These required steps include

identifying the types, numbers, and locations of positions to be moved to the new

excepted service schedule; documenting the basis for any determination that

movement of the position into the new excepted service schedule is consistent with

standards set by the President; and obtaining certification from agency Chief

Human Capital Officers that moving the positions into a new excepted service

schedule is consistent with merit system principles.     5 C.F.R. § 302.602(b).

      50.     OPM regulations also require that agencies give advanced, written

notice to any employee whose position is to be moved into a new excepted service

schedule. This written notice must inform the employee that the employee

maintains accrued civil service protections.    5 C.F.R. § 302.602(c).

      51.     The Executive Order requires OPM and agencies to comply with the

Orders requirements, including those that conflict with the requirements described

above. The Order thus directs agencies to act contrary to regulations.    5 C.F.R. §

302.602(b).

         F.    OPM is directed to implement the Executive Order promptly.

      52.     The Executive Order requires the OPM Director to act promptly on

agency designations of positions to be moved into the new excepted service schedule.

      53.     The Order also directs the OPM Director to adopt such regulations as

the Director determines may be necessary to implement this order and to provide




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guidance on conducting a swift, orderly transition from existing appointment

processes for the new excepted service employees.

         54.      Defendant Ezell is substantially likely to effectuate transfers of

employees to the new excepted service schedule that would be unlawful because the

Executive Order conflicts with statute and regulations.

   IV.         The Harm that NTEU Will Suffer Due to the Executive Order.

         55.      NTEU brings this action on behalf of itself because the Executive

Order immediately harms NTEU by requiring it to spend time and resources to

counteract the effects of the Order.

         56.      The Executive Order will radically reshape the civil service by

drastically increasing the number and type of employees who are in a new category

of excepted service and be at risk of dismissal without adverse action rights.

         57.      The Executive Order by its terms will not only apply to future

employees, but will also apply to incumbent employees who have been hired into the

competitive service or into previously existing excepted service categories. These

incumbent employees accepted their jobs with the expectation that once a

probationary period had passed, they had civil service and due process protections

attendant to their appointment. The Order intends that such employees can be

involuntarily moved to the new excepted service schedule and stripped of those due

process protections.

         58.      The radical change that this Executive Order will effect has been

widely recognized. The October 2020 Schedule F Order that was revived through



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this Executive Order was described as a stunning attempt to politicize the civil

service and undermine more than a century of laws aimed at preventing corruption

and cronyism in the federal government. Erich Wagner, 

                                          , (Oct. 22, 2020), govexec.com

(https://www.govexec.com/management/2020/10/stunning-executive-order-would-

politicize-civil-service/169479/)

       59.    The 2020 Executive Order would have given the President the power

to mount a scorched-earth campaign and gives him largely unfettered authority to

fire experts . . . while leaving behind a corps of embedded loyalists to undermine his

successor. Andrew Feinberg,

                                                     , theindependent.co.uk (Oct. 23, 2020)

(https://www.independent.co.uk/voices/trump-executive-order-civil-service-biden-

election-schedule-f-b1255692.html).

       60.    An Executive Order like the one issued in 2020 would effectively

upend the modern civil service, and put future presidents in the position of bringing

in their own loyalists. . . . Axios,

(July 22, 2022) (https://www.axios.com/2022/07/22/trump-presidency-schedule-f-

federal-employees).

       61.    Typically, about 4,000 political appointees leave their government

position at the start of a new administration. This Executive Order, which generally

reinstates the one issued in 2020, is intended to cover as many as 50,000 employees,

leaving them vulnerable to being fired for any reason including political agenda.



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Axios,                                                     , July 23, 2022

(https://www.axios.com/2022/07/22/trump-presidency-schedule-f-federal-employees).

         62.   NTEU represents thousands of federal employees who perform work

relating to policy. Given the Executive Orders improper definition of policy-

making, policy-advocating or policy-determining, its sweep is overbroad. NTEU

must now expend scarce time and resources challenging agency efforts to include

employees within the Orders overbroad coverage. On behalf of these affected

employees, NTEU must also combat the Orders purported stripping of NTEU

members accrued civil service and due process protections.

         63.   NTEUs legislative staff, for example, is assessing the Order,

evaluating whether there is legislative action that can be taken to address it, and

communicating with Members of Congress and their staff about the Orders likely

impact on federal employees. This will entail,            , talking with Congressional

committee staff regarding the possible insertion of language in an appropriations

bill to prohibit the use of funds to implement the January 20, 2025 Order. NTEU

staff must provide legislative language and consult frequently with Members of

Congress on the final language of any such legislation.

         64.   NTEUs Legislative Department is also reaching out to congressional

staff to build support for that proposed legislative language, including

communicating with staff on appropriations, authorizing and oversight committees;

congressional leadership; offices of members of Congress whose states and districts

contain large numbers of federal employees; and other interested members of



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Congress. In addition to these direct actions, NTEUs Legislative Department will

respond to inquiries from Hill staff regarding the impact of the Order on NTEU-

represented members.

      65.    Staff in NTEUs Office of Field Operations are assessing the Order to

evaluate which NTEU bargaining unit employees arguably perform work falling

within the Orders wide scope and evaluating how best to protect these employees

due process rights. Given the extraordinarily broad definition of policy-related

work contained with the Executive Order, Field Operations will spend significant

time and resources on this task. This includes contacting local chapter leaders to

discuss with them individual member duties and reviewing hundreds of employee

position descriptions. NTEU must perform this evaluation to fulfill its statutory

obligation to represent its bargaining unit employees, given the Orders instruction

to agencies to identify all positions to be converted to the new excepted service

schedule.

      66.    NTEUs Field Operations staff is also evaluating how it will respond

when agencies act on the Presidents directive to expeditiously petition the

Federal Labor Relations Authority (FLRA) to determine whether any employees in

the new excepted service schedule should be excluded from a collective bargaining

unit. Such determinations must be made on the basis of an individual employees

assigned duties, not the employees position description. Each such proceeding will

be a fact-intensive proceeding that will explore the duties of each position. These

proceedings may involve written argument or oral testimony or both. The Orders



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command to send numerous petitions to the FLRA will result in a substantial

expenditure of NTEU time and resources.

      67.    Finally, as noted, NTEU represents tens of thousands of federal

employees in 37 departments and agencies across the federal government. NTEU

has litigated key issues concerning the civil service, including litigating First

Amendment, due process, and other constitutional rights. As experts in this field, it

will be the Union where members, the media and the public turn for help in

understanding the broad scope of this Order. NTEU has been, and will continue to

be, called on to explain the nuances of the Order and its adverse effects on the

federal civil service. As part of that effort, NTEUs Communications and Public

Relations Department must create fact sheets, draft press releases, record videos for

internal member and public consumption, and provide online educational resources.

      68.    NTEUs work to counteract the injury from the Executive Order is

diverting and will continue to divert NTEU staff from work it would otherwise be




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doing to represent employees, negotiate with agencies, and advocate to Congress on

employees behalf.

                                CAUSES OF ACTION

Count 1: The Presidents Executive Order is unlawful and                 because it
exceeds statutory authority and is contrary to congressional intent.

      69.    Plaintiff reasserts the allegations contained in paragraphs 1 through

68 of this complaint as though contained herein.

      70.    Courts have jurisdiction to grant relief when the President acts beyond

the scope of his authority and violates the law, to the injury of an individual or

organization.

      71.    Congress gave the President limited authority to prescribe rules for the

competitive service but expressly cabined that authority by stating that any

exceptions from the competitive service must be necessary and as nearly as

conditions of good administration warrant. 5 U.S.C. § 3302.

      72.    The Executive Order is neither necessary nor is it warranted by

conditions of good administration as required by 5 U.S.C. § 3302.

      73.    Reclassifying large numbers of employees in the competitive service or

existing excepted service schedules into a new excepted service schedule with the

intent of making them at-will employees is contrary to Congresss intent in

establishing broad protections for most federal employees in the CSRA.




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Count II: The Presidents Executive Order is unlawful and             because it
purports to apply to employees other than noncareer, political appointees.

      74.    Plaintiff reasserts the allegations contained in paragraphs 1 through

68 of this complaint as though contained herein.

      75.    Under civil service law, a confidential, policy-making, policy-

advocating or policy-determining position is a non-career, political appointment

characterized by a close working relationship to the President or agency heads.

      76.    The Executive Order covers employees beyond this narrow definition

because it explicitly covers career employees who are not normally subject to

change as a result of a Presidential transition, and thus is contrary to law.

Count III: The Presidents Executive Order is unlawful and               because it
seeks to deprive federal employees of accrued due process rights.

      77.    Plaintiff reasserts the allegations contained in paragraphs 1 through

68 of this complaint as though contained herein.

      78.    Non-probationary federal employees in the competitive service and

most existing excepted service schedules acquire procedural due process rights and

civil service protections grounded in the U.S. Constitution, Fifth and Fourteenth

Amendments, and civil service statutes.

      79.    The Executive Order seeks to move employees hired into the

competitive service or existing excepted service schedules involuntarily into a new

excepted service schedule where they would be stripped of their accrued due process

rights, which is contrary to law and congressional intent.




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Count IV: Implementation of the Executive Order violates the Administrative
Procedure Act because it unlawfully rescinds OPM regulations.

      80.      Plaintiff reasserts the allegations contained in paragraphs 1 through

68 of this complaint as though contained herein.

      81.      OPM regulations define the statutory term confidential, policy-

determining, policy-making, or policy-advocating employees narrowly as meaning

only noncareer, political appointments that are identified by a close working

relationship with the President, head of an agency or other key appointed officials.

    5 C.F.R. § 210.102(b)(3), (b)(4).

      82.      OPM regulations require agencies to take certain steps before moving

any position into a new excepted service, such as identifying the types, numbers,

and locations of positions to be moved, documenting the basis for any determination

that movement of the position is consistent with standards set by the President, and

obtaining certification from agency Chief Human Capital Officers that moving

positions is consistent with merit system principles.     5 C.F.R. § 302.602(a).

      83.      OPM regulations require that agencies give advanced, written notice to

any employee whose position is to be moved into a new excepted service schedule

and to inform such employee that the employee maintains accrued civil service

protections.      5 C.F.R. §302.602(c).

      84.      The Executive Order requires OPM and agency heads to implement

the Order, including aspects of the Order that conflict with the requirements

described above. The Order explicitly states its view that provisions of OPMs

regulations that conflict with the Order shall be held inoperative and without


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effect. This operates as a rescission of the OPM regulations without following

Administrative Procedure Act procedures.

      85.      The actions that Defendants Ezell, Flores, ODonnell, Fink and Uyeda

are required to take will, therefore, contravene the Administrative Procedure Act,

which requires established procedures for promulgating or rescinding regulations.

                               REQUEST FOR RELIEF

      WHEREFORE, based on the foregoing, Plaintiff NTEU requests judgment

against the defendants:

      A.       Declaring that the January 20, 2025 Executive Order is unlawful.

      B.       Enjoining Defendant President Trump from implementing or enforcing

the January 20, 2025 Executive Order.

      C.       Enjoin Defendants Ezell, Flores, ODonnell, Fink, and Uyeda, from

complying with the January 20, 2025 Executive Order.

      D.       Awarding Plaintiff reasonable attorney fees and costs incurred.

      E.       Ordering such further relief as the Court may deem just and

appropriate.




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                              Respectfully submitted,

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January 20, 2025              Attorneys for Plaintiff NTEU




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